
OPINION
JONES, Chief Justice.
¶ 1 In light of principles set forth by the United States Supreme Court in Apprendi v. New Jersey, 530 U.S. 466, 120 S.Ct. 2348, 147 L.Ed.2d 435 (2000), and Ring v. Arizona, 536 U.S. 584, 122 S.Ct. 2428, 153 L.Ed.2d 556 (2002), as well as the requirements of the Arizona Constitution and laws, we decide in today’s case whether, as a condition to the pursuit of capital punishment by the State, aggravating factors described in A.R.S. § 13-703(F) (Supp.2003) must be specifically alleged in the charging document and supported by evidence of probable cause. For the reasons set forth below, we hold they do not.
I.
¶ 2 Kerby McKaney was indicted August 2, 2001 on two counts of first degree murder, one count of first degree burglary, one count of sexual assault, and two counts of kidnapping.1 On October 1, 2001, the State gave notice of intent to seek the death penalty on the two murder charges, and on October 22, 2002, gave notice of intent to prove three aggravating factors, namely, prior conviction of a serious offense, offense committed in an especially heinous, cruel or depraved manner, and conviction of one or more other homicides. A.R.S. § 13-703(F)(2), (6) and (8).
¶ 3 On November 5, 2003, McKaney moved to dismiss the State’s notice of intent and notice of aggravating factors, arguing that these factors are elements of the capital crime of first degree murder and as such were unsupported by an initial finding of probable cause by the grand jury. The trial court denied McKaney’s motion on December 19, 2003. McKaney then filed this petition for special action. We accepted jurisdiction because the issue is applicable in every capital case initiated under Arizona’s death penalty statutes and is thus of statewide significance. The issue is also one of first impression in this jurisdiction.
II.
¶ 4 McKaney’s argument that the aggravating factors must be alleged in the indictment and supported by evidence of probable cause is based on the Due Process Clause of the Fourteenth Amendment to the United States Constitution and Article 2, Section 30, of the Arizona Constitution. In support, McKaney cites Apprendi and Ring as fashioning a new rule of law required by the United States and Arizona Constitutions.
A.
¶ 5 In Apprendi, the defendant, having fired gunshots into the home of an African-American family, pled guilty to two counts of possessing a firearm for an unlawful purpose, a second degree offense, and one count of unlawful possession of a prohibited weapon, a third degree offense. 530 U.S. at 469-70, 120 S.Ct. 2348. Each second degree count carried a maximum penalty of ten years in prison; the third degree count carried a five-year maximum penalty. Id. at 470, 120 S.Ct. 2348. In addition, New Jersey’s “hate crime” statute called for an enhanced sentence in cases in which the trial judge finds by a preponderance of the evidence that the offense was racially motivated. Id. at 468-69, 120 S.Ct. 2348. A second degree offense under the hate crime statute carried an extended term of imprisonment “between 10 and 20 years.” Id. at 469, 120 S.Ct. 2348.
¶ 6 The trial judge found “that the crime was motivated by racial bias.” Id. at 471, 120 S.Ct. 2348. The judge sentenced Ap-prendi to an enhanced term of twelve years on one second degree offense and imposed *270shorter, concurrent sentences on the other counts. Id. at 471, 120 S.Ct. 2348. The New Jersey Appellate Division and Supreme Court affirmed.
¶ 7 The United States Supreme Court granted certiorari and reversed, finding unconstitutional the procedure by which Apprendi’s sentence was enhanced by the judge rather than by a jury. Id. at 474, 120 S.Ct. 2348. The Court held (1) that a criminal defendant is entitled to “a jury determination that [he] is guilty of every element of the crime with which he is charged, beyond a reasonable doubt,” id. at 477, 120 S.Ct. 2348, and (2) that “other than the fact of a prior conviction, any fact that increases the penalty for a crime beyond the prescribed statutory maximum must be submitted to a jury, and proved beyond a reasonable doubt.” Id. at 490, 120 S.Ct. 2348.
¶ 8 The holdings in Apprendi greatly informed the Supreme Court’s decision in Ring in which the Court held unconstitutional Arizona’s capital sentencing scheme. Because Arizona law permitted the death penalty only when aggravating factors were established, the Court held that Apprendi and the Sixth Amendment on which Apprendi is based required the jury rather than the judge find those factors. Ring, 536 U.S. at 609, 122 S.Ct. 2428. The Court, echoing Apprendi, stated, “[b]ecause Arizona’s enumerated aggravating factors operate as ‘the functional equivalent of an element of a greater offense,’ the Sixth Amendment requires that they be found by a jury.” Id. (citation omitted).
B.
¶ 9 In the aftermath of Apprendi and Ring, many jurisdictions faced the issue we now face, namely, whether principles announced in the two cases require that statutory aggravators which may subject a criminal defendant to capital punishment be specifically alleged in the grand jury indictment or other charging document and be supported by sufficient evidence of probable cause. The vast majority of state jurisdictions have held they do not, and we agree.
¶ 10 Both Apprendi and Ring are expressly grounded in the right to trial by an impartial jury under the Sixth Amendment to the United States Constitution. The Court’s key concern in those decisions was that a criminal defendant be afforded the full benefit of jury trial on all evidence, including aggravating factors, that could result in a sentence greater than the maximum prescribed for the offense charged. The instant case, however, does not fall under the Sixth Amendment and does not present that issue. Rather, McKaney argues that in addition to the Apprendi/Ring requirement that aggravators be found for sentencing purposes by the trial jury, he is also entitled to have each aggravating factor preliminarily considered by the grand jury or neutral arbiter and included by specific allegation as a probable cause finding in the charging document, either a grand jury indictment or an information.
¶ 11 The United States Constitution does not impose on the states the rule McKaney asserts. Although prosecutions in the federal courts require, under the Fifth Amendment, that aggravators be alleged in an indictment and supported by probable cause, United States v. Cotton, 535 U.S. 625, 627, 122 S.Ct. 1781, 152 L.Ed.2d 860 (2002), the same requirement is inapplicable to prosecutions in our state courts. Two principal reasons are given. First, the Fifth Amendment’s guarantee of indictment by a grand jury, applicable solely to the federal government, is not subject to the strictures of the Fourteenth Amendment. Alexander v. Louisiana, 405 U.S. 625, 633, 92 S.Ct. 1221, 31 L.Ed.2d 536 (1972) (“[T]he Due Process Clause ... [of the Fourteenth Amendment] does not require the States to observe the Fifth Amendment’s provision for presentment or indictment by a grand jury.”). Because a state is not required, as a matter of federal constitutional law, to empanel grand juries for purposes of indictment, it would be anomalous for us to require, under the United States Constitution, that a grand jury determine probable cause as a basis for alleging aggravating factors. See Hurtado v. California, 110 U.S. 516, 538, 4 S.Ct. 111, 28 L.Ed. 232 (1884).
*271¶ 12 Second, Apprendi and Ring do not implicate the Fifth Amendment relative to the use of grand jury indictments in state courts but rather the Sixth Amendment right to trial by jury and the Fourteenth Amendment due process requirement. The two cases specifically disavow dealing with sufficiency of indictments.
¶ 13 Accordingly, the only federal mandate applicable to McKaney in the context of the instant case is the Fourteenth Amendment due process requirement that a defendant receive adequate notice of the charges against him. See, e.g., Harris v. United States, 536 U.S. 545, 122 S.Ct. 2406, 153 L.Ed.2d 524 (2002) (noting, by comparison, that unlike the Fifth Amendment grand jury requirement which is inapplicable to the states, the Sixth Amendment notice requirement that defendants be informed of charges against them does apply to the states through the Fourteenth Amendment Due Process Clause). In the instant case, MeKa-ney does not contend, nor could he reasonably contend, that Arizona’s rules of criminal procedure afford less than sufficient notice of aggravating factors in satisfaction of the Fourteenth Amendment due process requirement, or that he specifically did not receive fair and adequate notice.
C.
¶ 14 The Arizona Constitution requires an “information or indictment” before a person can be prosecuted for a felony or misdemeanor. Ariz. Const. art. 2, § 30. This court has held, pursuant to state due process requirements, that a charging document must “fairly indieate[] the crime charged; state[] the essential elements of the alleged crime; and [be] sufficiently definite to apprise the defendant so that he can prepare his defense to the charge.” State v. Marquez, 127 Ariz. 98, 101, 618 P.2d 592, 595 (1980) (quoting State v. Suarez, 106 Ariz. 62, 64, 470 P.2d 675, 677 (1970)). Similarly, the Arizona Rules of Criminal Procedure require that an “indictment or information shall be a plain, concise statement of the facts sufficiently definite to inform the defendant of the offense charged.” Ariz. R.Crim. P. 13.2.
¶ 15 But even if proof of an aggravating factor, now defined as merely a new procedural rule in Schriro v. Summerlin, — U.S. —, 124 S.Ct. 2519, 159 L.Ed.2d 442 (2004), is deemed to be the “functional equivalent” of an element of the offense of capital murder under the Sixth Amendment as stated in Apprendi and Ring and sufficient notice of crimes charged is otherwise present, no authority requires that aggravating factors be identified and treated as “essential elements of the alleged crime” for the purpose of inclusion in a grand jury indictment or information. The requirement remains unchanged that the state must give the defendant notice of its intention to seek capital punishment, Ariz. R.Crim. P. 15.1(i)(1),2 as does the requirement that the state give the defendant notice of the aggravating factors it intends to prove, Ariz. R.Crim. P. 15.1(i)(2).3
¶ 16 It thus becomes irrelevant that aggravators are not specified in the indictment or information based on evidence of probable cause presented to a grand jury or magistrate 4 because the defendant will have been given ample notice under the Arizona Rules of Criminal Procedure, and the trial jury, the same jury that ultimately will determine guilt or innocence, will also determine whether the aggravating factors exist beyond a reasonable doubt. Accordingly, even if aggravators are characterized as the “functional equivalent” of elements of the offense of capital murder as in Apprendi/Ring, the Sixth *272Amendment right to trial by jury is satisfied, and there appears no reason to require proof of aggravating factors under an unduly expanded and non-essential due process standard in determining the scope of the “information or indictment” clause of the Arizona Constitution. Art. II, § 30.
¶ 17 All state jurisdictions with one exception have thus far held, as we hold today, that aggravating factors need not be specified or alleged in the indictment. See, e.g., People v. McClain, 343 Ill.App.3d 1122, 278 Ill.Dec. 604, 799 N.E.2d 322, 336 (2003) (Ring does not require that aggravating factors be pled in a state court indictment); Soto v. Commonwealth, 139 S.W.3d 827, 841-843 (Ky.2004) (Ring and Apprendi do not require that aggravating factors be pled in the indictment); Stevens v. State, 867 So.2d 219, 227 (Miss.2004) (“an indictment for capital murder puts a defendant on sufficient notice that statutory aggravating factors will be used against him” even in light of Apprendi and Ring); Primeaux v. State, 88 P.3d 893, 899-900 ¶¶ 14-16 (Okla.Crim.App.2004) (no requirement in Ring that aggravating factors be pled in the indictment so long as notice is given to defendant); State v. Edwards, 810 A.2d 226, 234 (R.I.2002) (no constitutional requirement after Apprendi or Ring that aggravating factors be set forth in the indictment); State v. Oatney, 335 Or. 276, 66 P.3d 475, 487 (2003) (deliberateness as an aggravating factor need not be charged in the indictment even though a jury must make a finding of deliberateness at the end of the guilt phase in order for the defendant to be death penalty eligible).
¶ 18 New Jersey alone has adopted the position McKaney urges. The Supreme Court of New Jersey, in State v. Fortin, 178 N.J. 540, 843 A.2d 974 (2004), held the state constitution “requires that aggravating factors be submitted to the grand jury and returned in an indictment.” Id. at 1035. Under the New Jersey Constitution, “the State must present proof of every element of an offense to the grand jury and specify those elements in the indictment.” Id. at 1027; see N. J. Const. art. 1, ¶ 8.
¶ 19 The New Jersey court noted that “[although we recognize that the Fifth Amendment right to indictment by a grand jury does not apply to the States, we have never construed our grand jury provision under Article 1, Paragraph 8 as providing lesser protection than its federal analogue.” 843 A.2d at 1035 (internal citations omitted). In light of Apprendi and Ring, the court reasoned that “[i]f aggravating factors and capital triggers are the functional equivalent of elements of capital murder pursuant to the Sixth Amendment’s right to trial by jury, we see no reason to define them as something other than elements for purposes of the state constitutional right to a grand jury presentation.” Id.
¶ 20 We choose not to adopt New Jersey’s rationale. We conclude there is a difference between “elements” for purposes of the Sixth Amendment right to trial by jury and the “functional equivalent of an element” for purposes of finding a state constitutional right to have aggravating factors alleged in an indictment or information. In the former, the trial jury addresses the adequacy of proof of the actual elements of the crime and the presence of aggravators to determine the defendant’s guilt or innocence and to fix the sentence. In the latter, we address simply the adequacy of notice. The difference is significant. Indeed, in this very case, the defendant does not claim the notice he received was inadequate.
¶ 21 Were we to follow New Jersey’s Fortin decision, we would, as a result, expand the statutory role of the grand jury as a matter of state constitutional law. As another court noted, such an expansion has consequences:
Another concern raised by requiring the grand jury to determine aggravating factors in death penalty cases is whether the judge empaneling the grand jury would be required to conduct a voir dire so as to exclude any potential grand jurors who would be unable to fairly determine aggravating factors on account of conscientious objection to the death penalty. If so, there would be no counsel present to assist the empaneling judge as by definition there would as yet be no ease. The chance that this voir dire could be conducted to the *273satisfaction of counsel named after the indictment is returned would, at best, be nil.
United States v. Battle, 264 F.Supp.2d 1088, 1104 (N.D.Ga.2003). The court in Battle further noted that it is standard practice for the trial jury to view the indictment. Thus, “the jury [would] view the claimed aggravating factors prior to determining whether the defendant is guilty of any crime____” Id. The court observed that “while redactions arguably could be made for this purpose, why require adding something to the indictment which will often have to be redacted?” Id. The court recognized, and we agree, that such a disclosure to the trial jury would, in many instances, prove unduly prejudicial to the defendant.
¶ 22 Finally, and respectfully, we disagree with the rather dramatic assertion advanced by our dissenting colleagues that today’s opinion, for the first time in history, affords less protection under the Arizona Constitution than the United States Constitution affords in its corresponding clause. First, as we have noted earlier, the federal constitution’s “corresponding clause” does not apply to the states and, as a result, affords no protection at all to McKaney or similarly situated defendants. The question before us is simply whether the Arizona Constitution requires that the State allege specific aggra-vators in a charging document. Arizona has never required that such factors be alleged in an indictment or information, so today’s decision neither reduces nor minimizes a right previously afforded criminal defendants. Rather, today’s opinion simply retains Arizona’s long-accepted view that the protection afforded by our rules of criminal procedure fully satisfies due process requirements.
III.
¶ 23 We therefore hold that aggravating factors essential to the imposition of a capital sentence need not be alleged in the grand jury indictment or the information in order to satisfy constitutional due process. Even though aggravating factors need not be specified in the charging document, an accused in the State of Arizona is accorded notice under the rules of criminal procedure that complies with constitutional requirements. In the ease at bench, McKaney was notified of the State’s intent to seek the death penalty and of the specific aggravating factors to be proved with ample time to prepare.
¶ 24 For the foregoing reasons, we accept jurisdiction of McKaney’s petition for special action, but deny relief. We remand the case to the superior court for further proceedings consistent with this opinion.
CONCURRING: RUTH V. McGREGOR, Vice Chief Justice, and REBECCA WHITE BERCH, Justice.

. The events giving rise to these charges were allegedly committed on December 8, 1985. McKaney remained at large until a happenstance match of DNA evidence in 1999 linked him to the crimes.


. Rule 15.1(i)(1) requires that "[tjhe prosecutor, no later than 60 days after the arraignment in superior court, shall provide to the defendant notice of whether the prosecutor intends to seek the death penalty. This period may be extended for thirty days upon stipulation of counsel. Additional extensions may be granted upon motion of the state and approval of the court.”


. Rule 15.1(i)(2) requires that ”[i]f the prosecutor files notice of intent to seek the death penalty, the prosecutor shall at the same time provide the defendant with a list of aggravating circumstances the state will rely on at the aggravation hearing in seeking the death penalty.”


. If the State proceeds by information, the State must hold a "preliminary examination before a magistrate,” unless the defendant waives this right. Ariz. Const. art. 2, § 30.

